




NO. 07-08-0463-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



DECEMBER 3, 2008



______________________________





ADVANTA BANK CORP., 



Appellant



v.



QUANAH FARM &amp; RANCH COMPANY 

and DON P. DRAKE a/k/a DON PATRICK DRAKE, 



Appellees



_________________________________



FROM THE 46
TH
 DISTRICT COURT OF HARDEMAN COUNTY;



NO. 9918; HON. DAN MIKE BIRD, PRESIDING



_______________________________



Memorandum Opinion



_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Appellant Advanta Bank Corp. filed a notice of appeal on November 18, 2008. However, appellant did not pay the $125 filing fee required from appellants under Texas Rule of Appellate Procedure 5. &nbsp;Nor did it file an affidavit of indigence per Texas Rule of Appellate Procedure 20.1. &nbsp;By letter from this Court dated November 19, 2008, we informed appellant that “the filing fee in the amount of $175.00 has not been paid . . . . &nbsp;Failure to pay the filing fee within ten (10) days from the date of this notice may result in a dismissal.” &nbsp;
Tex. R. App. 
P. 42.3(c); 
see Holt v. F. F. Enterprises
, 990 S.W.2d 756 (Tex. App.–Amarillo 1998, pet. ref’d). &nbsp;The deadline lapsed, and the fee was not received. 

Because appellant has failed to pay the requisite filing fee as directed by the court, we dismiss the appeal pursuant to Texas Rule of Appellate Procedure 42.3(c). 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;		

Per Curiam


















